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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOHN HALL,
Plaintiff,

Vv, Civil Action No. 3:18-cv-321

DOMINION ENERGY, INC., et al.,
Defendants.

ORDER
This matter comes before the Court on the parties’ updated joint motion to stay the case
and status report. (Dk. No. 76.) Upon due consideration, the Court GRANTS the motion.
Accordingly, the Court EXTENDS the stay in this case until June 24, 2019. The parties shall
proceed as set forth in their joint motion. The Court DIRECTS the parties to file a joint status
report by June 24, 2019.
It is so ORDERED.

Let the Clerk send a copy of this Order to all counsel of record.

 

 

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Date: 26 aprit2019 ril 2019 John A. Gibney, Jr. /

Richmond, VA United States District Judge

 

 

 
